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 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                    )
 9   UNITED STATES OF AMERICA,                      )   Case No.: 2:15-cr-00177-GEB
10                                                  )
                   Plaintiff,                       )   DEFENDANT’S STIPULATION AND
11                                                  )   [PROPOSED] ORDER
            vs.                                     )
12                                                  )   Date: April 14, 2017
     JASON MATECKI, et al.,                         )   Time: 9:00 a.m.
13                                                  )   Judge: Garland E. Burrell, Jr.
14                 Defendants.                      )
                                                    )
15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for March 24, 2017, is continued to April 14, 2017
18   at 9:00 a.m. in the same courtroom. Defendant needs additional time to prepare for
19   sentencing. Kevin Khasighian, Assistant United States Attorney, and Thomas A.
20   Johnson, Defendant’s attorney, agree to this continuance. The PSR schedule is amended
21   as follows:
22
     Judgment and Sentencing date:                               April 14, 2017
23
24
     Reply or Statement                                          April 7, 2017
25
     Motion for Correction of the Pre-Sentence
26   Report shall be filed with the court and                    March 31, 2017
27   served on the Probation Officer and opposing
     counsel no later than:
28


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 1   IT IS SO STIPULATED.
 2
 3
     DATED: March 8, 2017                     By:   /s/ Thomas A. Johnson
 4                                                  THOMAS A. JOHNSON
                                                    Attorney for Jason Matecki
 5
     DATED: March 8, 2017                           PHILLIP A. TALBERT
 6                                                  Acting United States Attorney
 7                                            By:   /s/ Kevin Khasigian
                                                    KEVIN KHASIGHIAN
 8                                                  Assistant United States Attorney
 9   IT IS SO ORDERED.
10
     Dated: March 9, 2017
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